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                 Excerpt of Proceedings - AM


                            Paris v Brown


                            July 24, 2023




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            IN THE CIRCUIT COURT OF THE STATE OF OREGON

                  IN AND FOR THE COUNTY OF JACKSON

                  BEFORE THE HONORABLE JUDGE BLOOM



                   ARNAUD PARIS,

                 Petitioner,

       v.                                      No.   23DR08269

    HEIDI MARIE BROWN,

                 Respondent.



    HEIDI MARIE BROWN,

                 Petitioner,

        v.                                     No.   22DR17285

    ARNAUD PARIS,

                 Respondent.



                        EXCERPT OF PROCEEDINGS

                               July 24,    2023

                         Monday,    9: 0 0 - A. M.



    APPEARANCES:

    For Petitioner Paris:          MR.    ARNAUD PARIS,   PRO PER

    For Petitioner/Respondent Brown: MR. TAYLOR MURDOCH

    For Respondent Paris: MR. THOMAS BITTNER


    Transcribed
    from audio by:        Arnaud PARIS




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THE COURT
Ok. Excuse me? Ok. This is time place set for a status conference. Yeah, I have to refresh my calendar here in
the matters of Heidi Brown versus Arnaud Paris and Arnaud Paris versus Heidi Brown the, to divorce matters.
Who's on the telephone? Or video,

MR. PARIS
Mr Paris your honor.

THE COURT
Mr. Paris. Are you in Paris?

MR. PARIS
Near Paris, I mean, in the suburbs, your honor.

THE COURT
Ok. All right. And who else is it, Mr Bittner, are you on the telephone?

MR.BITTNER
I am appearing by Webex on a video, perhaps you can see me in the courtroom. Perhaps not, but I'm here your
honor.

THE COURT
I can, I can see you, if I tum my head, cause for whatever reason my computer doesn't work, anyways, so I can
see you there, and I see Mr. Paris, I see Mr. Murdoch. All right.

MR.MURDOCH
Good morning, your honor.

THE COURT
Good morning. Who wants to go first? Mr. Murdoch?

MR.MURDOCH
Your honor. This is, thank you, your honor. This is a status check set at our request. Your honor. I emailed the
court this morning as the court may be aware the parties in this proceeding are in the middle of a evidentiary
hearing on Mr Paris's motion to dismiss which was filed through his attorney Mr Bittner, and there's also an
evidentiary hearing ongoing with regard to Mr Paris's or the objection rather than Mr Paris's registration of a
foreign court order in the state of Oregon.

THE COURT
Right, I'm familiar with that.

MR.MURDOCH
Ok. Thank you. And your honor just I am on Webex. So I want to note that I found the only time in my office
for this hearing. That's the reason for the, if the court is looking at me right now. It was not the time.

THE COURT
Mr. Murdoch I'm impressed. Ok.

MR.MURDOCH
Ok.

THE COURT
It was quickly set, you look great, thank you.

MR.MURDOCH
Thank you, your honor,


MR. BITTNER
Your honor. I wasn't ...




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MR.MURDOCH
So judge. This is a, this is a very relatively straightforward matter. What we're asking for is a letter from the
court regarding the current proceedings, there was a Status Quo order that was signed by the court back in
October of 2022. The court order provides that neither parties leave the state of Oregon with the minor Children.
It provides that neither party is to leave or to hide or secret the minor Children, and it provides that the parties
are to exercise approximately equal time that was signed by judge Orr back in October. It's what the parties have
been following during the pendency of this proceeding. It's also been the order of the court, your honor. We are
in the middle of this, this proceeding and there was a hearing set when judge Orr was unable or there was lack of
judicial availability early last in the middle of last week rather, the court proceeding was reset to August 3rd and
it was reset as well to August 15th as well.
Mr Paris, there was a hearing with another judge. I wasn't able to appear because it was by phone and I was
driving through the past and wasn't aware of the hearing. But at that hearing, I understand that Mr Paris tried to
overturn the status quo order and tried made some representations about trying to get the judge to do that.
It wasn't overturned. The status quo order remains in effect.
Your honor. We received notice yesterday that Mr Paris has despite the court's order has left Oregon has left,
went to California despite Miss Brown having the children's passports, took the Children to France. He has the
Children with him in France, contrary to the court's order, what I've asked for judge is what I sent language for a
proposed letter from judge Orr, for judge Orr rather in an email sent to Miss Allen this morning and what the
parties need or rather what Miss Brown needs in this matter is a letter from the Circuit Court of the State of
Oregon, a judge in the County of Jackson detailing the present status of the proceedings.
I understand this is unusual request. However, there's nothing that there's no basis to object to it simply because
 it's a request for the status of the proceedings.
On the first day of hearing, your honor was on the 12th of July, my client recollects that during that time, there
was a reminder from the judge, judge Orr to the parties specifically that the Status Quo was in effect and it
needs to be, remain in effect. I've had an opportunity to review the clerk's log, which was prepared by the court
on the first day of hearing. I note that there was a period of time at 5:03 p.m. when the court addresses the
 parties regarding day two. I'm not sure if that's the exact point in time. But if the court has any questions about
the representations that we've asked the court to include in the letter, that's what the court may refer to.
 I understand you're not, the courts is not judge Orr, however, it's imperative that this court from Jackson County
 provides a letter to whom it may concern about the proceedings in France so that the order that was entered in
October of 2022 regarding the minor Children remain in effect and be given full force in effect.
And that Mr Paris not be allowed to abscond the jurisdiction with the minor Children in contrary to the court's
 orders. So I provided that language. I'm happy to provide some edits to that language, given the fact that you are
not judge Orr and the court is not personally familiar with many of the proceedings.
But as I indicated, there is an FTR we do have the clerk's log. And if the court has any questions about that, the
 court can refer those to counsel and me and if they can't be resolved through counsel, they can be resolved by
the record. Thank you.

THE COURT
Thank you, Mr Bittner.

MR. BITTNER
Well, your honor, I,

THE COURT
I'm having a hard time hearing you.


MR. BITTNER
Can you hear me now, your honor?

THE COURT
That's better.

MR.BITTNER
Ok. So the objection is that, you know, the court of, that adjudicates motions and matters that are brought before
it with some authority, what the other side is asking for essentially is for the court to become a witness in its
own matter and asking for the court to essentially become an advocate of its order. It, I don't know how a court
commenting on an order that it has issued makes it more or less enforceable.




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There is a Status Quo order, of course, it has been, it has been challenged. And if Mr Murdoch and his client
wish to present that to any particular authority, they are free to do so. But asking the court to comment on the
force of its order, I think particularly in light of the fact that the court's jurisdiction has been called into question
and the court has to date not addressed its jurisdiction, notwithstanding that it was called to the court's attention
on January 5th, that it lacked jurisdiction to enter such an order. And so I think that that you know, rushing in
on, couple hours notice and say we want the court to sign a letter that says this, is not something that is
authorized by Oregon Statutes or any other statute that I'm aware of. And I would say that, you know, any,
anytime someone wants to file a motion for relief from the court, they need to file it, serve it, the other side has
an opportunity to be heard.
And, so I think that that the court should not become embroiled in the situation. It's just not not appropriate.
That's not the role of the court to become essentially an advocate for its own, its own order.

MR. PARIS
Ifl can say so something, your honor.

THE COURT
No, you can't, you can't, it's not evidentiary hearing. You can't say anything.

MR.PARIS
I'm a litigant. I'm a litigant. Your honor in case 23DR,

THE COURT
You cannot say anything. Ok. Thank you. You're represented by your attorney at this hearing. It's not
evidentiary hearing ...

MR. PARIS
I am not, I am not your honor. I'm Pro Per.

MR. BITTNER,
So your honor, ifl, ifl may explain ...

MR.MURDOCH
Your honor actually to be clear, Mr, I'd like to alert the court. I've requested this hearing in case number 22DR
in the 22DR case, Mr, the cases have not formally been consolidated that I'm aware, Mr Bittner is representing
Mr Paris. In that case. Mr Paris is, is representing himself in a registration action that he filed. So the cases have
not been consolidated, although the evidence you're hearing in those cases has been proceeding at the same
time.

MR.BITTNER
Ifl may your honor. ..

THE COURT
Yeah Mr. Bittner, go ahead.

MR. BITTNER
Yeah, the the cases are being heard simultaneously and Mr. Paris is representing himself and in the other case
and judge Orr has rightfully allowed him to advocate for himself. And

THE COURT
And I'm gonna let him, I'm gonna let him, ... I was paying attention to the divorce. First one, where the two,
you represent. .. but Mr. Paris you represent yourself go ahead.

MR. PARIS
Thank you your honor, I want to bring to the attention of the court that I have not taken these Children without
an approval from the US government that was vetted by the border patrol. And it was also approved by the
French consulate that referred to US authorities in making that decision to let the Children travel with me. The
second point that I need to make is that Mr. Murdoch actually transmitted the letter that you're looking at
already to the French police and to the French Judge. Claiming that this was already a letter from the court.
MR.MURDOCH
Your honor, I object to this, first of all, that's a representation, that's completely false representation. Secondly,




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MR.PARIS
I am a witness, Mr Murdoch, I was there when the police officer showed me your letter I 2 hours ago and I was
told that a judge in Oregon had written that letter and it was asked to me why I would have violated an order
from a judge. And all the arguments that are in that letter were presented to me by Miss Brown's lawyer in the
email that was provided to the police.
So how do we explain that a French judge and the French police are already considering that as evidence in a
case, which to me sounds like misrepresentation fro! Mr Murdoch and almost forgery at the expense of the
Jackson County Court?

THE COURT
Thank you Mr. Paris. So I'm I'm gonna say if, the Status Quo is in effect and there are ways remedying that
situation and the appropriate thing for the court to do is not to respond by letter, thereby inserting itself in these
proceedings. But that the parties do that based upon the order of the court issues with that.

MR.MURDOCH
Well, ifl may respond to Mr Bittner's argument too. So what we're, what we're looking for

THE COURT
You know Mr. Murdoch, I think it's really important that you let me speak.

MR.MURDOCH
Thank you your honor.

THE COURT
So I, I don't want to insert myself in there. I, I certainly believe that Judge Orr as I would, will take a dim view if
there's a violation of the Status Quo order. And ifthere are representations made by judge Orr not to leave the
jurisdiction and to remain here on the week, on week off schedule. I, I think that could be incredibly detrimental
to Mr Paris, but that's a separate thing and the, the court is not going to engage, submit that letter that that's for
the parties to do and, and the court will issue an order ifthere has been an alleged violation and it's established
upon proper motion. So that's what the court will do in this matter, Mr Murdoch, is there anything further you
want to say?

MR.MURDOCH
Thank you your honor. And I apologize for interrupting the court earlier. Judge, what I'd like to do then given
the, the contentious nature of this proceedings, there needs to be a record ofit. What I'm going to do is I'd like to
create an order from this hearing about exactly what the court just said. And I would like to submit it to Mr
Bittner expeditiously. And then I'd like to provide it to the court for signature.

MR.BITTNER
I guess my objection to that your honor is that there is not, there's not really truly a motion before the court.
They've asked the court to sign a letter to help them in some regard. And now they're gonna to try to bootstrap
an order denying that. And then the comments that the court made as to why it might for, for purposes that are,
you know, it, it, it, it's like an end around that. There's, there's really nothing before the court and there was no
motion and I don't think there needs to be an order.

THE COURT
Yeah Mr Murdoch, I don't want you to submit an order. There's been no motion.

MR.MURDOCH
Well, how about, well, your honor, as far as the record of these proceedings then, there needs to be ...

THE COURT
There is a record, there is a record being made, what we're doing, but there's no motion.

MR.MURDOCH
Your honor. We need. I'm aware your honor. I know this is highly, this is, look, there's a, this matter has been
pending before Judge Orr for a long time, there's a Status Quo order, the, this Status Quo order is going to be
litigated after the conclusion of the jurisdictional issues. But I'd like there needs to be at least some written
record of what happened here today Judge.




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THE COURT
Judge there is, it's what the transcript is but there's no motion and there's no order and I'm not gonna do a minute
order. I'm not gonna sign an order.

MR.MURDOCH
Why not judge?

THE COURT
Because there's no motion.

MR.MURDOCH
I kno.w judge.

THE COURT
That's why!

MR.MURDOCH
Then, I'm going to raise an oral motion right now Judge and I'd like you to deny it. Move, move the court to
create a written record, draft a letter and at least note what the proceedings are in Oregon. This is a critical
matter in order to for the party. There's a reason why Mr Mr Paris is appearing from, from France after
abducting the Children to a foreign jurisdiction ...

MR.PARIS
Objection, objection.

MR.MURDOCH
Judge, there needs to be a written record and if,judge, if the court isn't going to sign a minute order, I
understand or isn't going to sign an order rather, but there needs to be a minute order, at least created that a
request was made for on the oral motion of mother and that the motion was denied. And that's, that's all I'm
asking for judge. I know it's a strange request. I know this whole, this whole thing is strange but the reason why
it's strange is because the father took the children ...

THE COURT
The request, the request for a letter. You can say that the court, denied the request for the letter.

MR.BITTNER
Thank you, your honor.

MR.PARIS
Thank you, your honor.

THE COURT
That's all gentlemen. Thank you.

MR. BITTNER
Thank you.




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